Case 4:21-cv-03298 Document 17 Filed on 03/25/22 in TXSD Page 1 of 1
                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                       March 25, 2022
                                                                     Nathan Ochsner, Clerk

                  UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION

        ROBERT F. STRANGE § CIVIL ACTION NO.
        JR,                    § 4:21-cv-03298
                    Plaintiff, §
                               §
                               §
             vs.               § JUDGE CHARLES ESKRIDGE
                               §
                               §
        DEUTSCHE BANK          §
        NATIONAL TRUST         §
        CO,                    §
                   Defendant. §

                          FINAL JUDGMENT

           This case is DISMISSED WITH PREJUDICE for the reasons
       stated in the opinion and order entered this same day.
           This is a FINAL JUDGMENT.
           Any pending motion is DENIED AS MOOT.
           SO ORDERED.


          Signed on March 25, 2022, at Houston, Texas.




                                Hon. Charles Eskridge
                                United States District Judge
